      Dated: 2/9/2023



                     IN THE UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF TENNESSEE

In re:                                         )
                                               )
Remodel 615, LLC,                              )       Case No. 3:23-bk-00435
Robert Adam Baughman, and                      )       Chapter 11, Subchapter V
Noah Henderson Stewart,                        )       Judge Randal S. Mashburn
                                               )
         Debtors.                              )       (Jointly Administered)1


                      ORDER GRANTING EXPEDITED MOTION
                         FOR JOINT ADMINISTRATION
         The above-captioned Debtors moved for entry of an order on an expedited basis
directing joint administration of their cases for procedural purposes only and waiving
the requirement that the Debtors’ captions list the Debtors’ tax identification
numbers and addresses. Upon consideration of the motion and the Declaration of
Rob Baughman; it is hereby Ordered that:

         1.    The Motion is granted on a provisional basis. Any party seeking
reconsideration of this Order shall file a motion requesting such relief within 14 days
of entry of this Order. In that event, a hearing will be scheduled promptly. Otherwise,
the cases will remain administratively consolidated until further order of the Court.

         2.    Other than proofs of claims, all filings after the entry of this Order shall
be filed only in the lead case of Remodel 615, LLC at Case Number 3:23-bk-00435.

         3.    Notwithstanding the joint administration of the case dockets, the claims
registers for the Debtors shall be kept separate. Proofs of claims shall be filed under
the case number of the Debtor(s) alleged to owe the debt.



1The jointly administered Chapter 11 cases are: Remodel 615, LLC at Case No. 3:23-bk-00435;
Robert Adam Baughman at Case No. 3:23-bk-00436; and Noah Henderson Stewart at Case No. 3:23-
bk-00437. Other than proofs of claims, all filings shall be filed in the lead case of Remodel 615, LLC.



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      4.     The case caption of all future filings should be substantially the same as
the style of this Order, reflecting the names of all Debtors, the case number of the
lead case, and a footnote with reference to the other case numbers. (Debtor’s tax
identification numbers and addresses shall not be required in the caption or footnote.)

      5.     Any filing that does not impact all Debtors should so indicate in the
caption of the motion, notice, proposed order, or other filing. For example:

                   MOTION TO APPROVE SALE OF PROPERTY
                     (Affects Only Debtor Remodel 615, LLC)

      6.     Unless otherwise ordered, any notice required to be served upon all
creditors must be served on all creditors in all cases, but without duplication. Any
notice that requires notice to the 20 largest unsecured creditors must include the 20
largest unsecured creditors of each case even if the cumulative number for the three
cases is greater than 20.

      7.     In addition to the entry of this Order, a separate docket order will be
entered in Robert Baughman and Noah Stewart’s Chapter 11 cases, to provide
additional information directly on the docket sheet about the administrative
consolidation. The docket order will be substantially as follows:

      An Order has been entered in this case at Doc. ___ consolidating this
      case with the case of Remodel 615, LLC, Case Number 23-BK-00435,
      and one other individual debtor. The consolidation is for procedural
      purposes only and providing for its joint administration in accordance
      with the terms thereof. See details of Doc. __ regarding the impact on
      filings and particularly how proofs of claim will be handled.

      8.     The joint administration provided for in this Order is solely for
administrative convenience and efficiency, allowing filings to be made in the lead
corporate case and avoiding duplication of filings in the individual case. Nothing in
this Order shall be construed as having any implication for substantive consolidation,
future distributions, consideration of any joint plan, or any other matter affecting the
substantive rights of creditors and parties in interest.

      IT IS SO ORDERED.
                                                              This Order has been electronically
                                                              signed. The Judge's signature and
                                                              Court's seal appear at the top of the
                                                              first page.
                                                              United States Bankruptcy Court.

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